The issues are found for the plaintiff on the second count, which alleges both assault and battery. This determination at the least, entitles plaintiff to nominal damages. Schmeltz vs. Tracey, 118 Conn. 492, 496. And to compensatory damages to the extent that special damages have been alleged and proved. Schmeltz vs. Tracey, supra, p. 496;Morache vs. Greenberg, 116 Conn. 549, 551.
The assault and battery are found to have been wanton, and hence, malicious, which requires that an allowance be made in the form of exemplary damages. Maisenbacker vs.Society Concardia, 71 Conn. 369, 378; Hanna vs. Sweeney,78 Conn. 492; Malley vs. Lane, 97 Conn. 133, 139; Lentine vs.McAvoy, 105 Conn. 528, 531. Damages of this type are limited to the expense of litigation, less taxable costs. Malley vs.Lane, supra, p. 139; Hanna vs. Sweeney, supra, pp. 494, 495.
Compensatory damages are found to be $612.00; exemplary $135.00, making a total of $747.00.
   Judgment that plaintiff recover the sum of $747.00 from defendant, with costs.